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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

         v.                                            Case No. 22-mj-002 (ZMF)

FRANK ROCCO GIUSTINO,
               Defendant.

                                             ORDER

        Based upon the representations in the Joint Motion to Continue and to Exclude Time Under

the Speedy Trial Act, and upon consideration of the entire record, it is hereby

        ORDERED that the Motion is GRANTED; it is further

        ORDERED that the currently scheduled status hearing on March 8, 2022 be continued for

good cause until ___________________, 2022 at _________; and it is further

        ORDERED that the time between March 8, 2022 and __________________ shall be

excluded from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court

finds that the ends of justice served by the granting of such a continuance outweighs the best

interests of the public and the defendant in a speedy trial,as a continuance will provide the

government time to produce discovery and additional time for the parties to discuss a potential

pretrial resolution.




                                             THE HONORABLE ZIA M. FARUQUI
                                             UNITED STATES MAGISTRATE JUDGE
